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                                    UNITED STATES DISTRICT COURT
                                    EASTERN DISTRICT OF MISSOURI
                                          EASTERN DIVISION

JOSEPH HOFER
      PLAINTIFF                                             CIVIL ACTION NO.:

vs.                                                          4:16-cv-1793

NORTHEAST RECOVERY
SOLUTIONS, LLC
      DEFENDANT.

                                  NOTICE OF VOLUNTARY DISMISSAL

Plaintiff, Joseph Hofer, and Defendant, Northeast Recovery Solutions, LLC, hereby stipulate to dismiss

Plaintiff's claims as set forth in his Complaint with prejudice and without costs, pursuant to Fed.R.Civ.P.

41(a){l){A){2).

                                                     HEALEY LAW, ILC
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                                        CERTIFICATE OF SERVICE
        I hereby certify that the foregoing document was filed electronically with the United States
District Court for the Eastern District of Missouri this 4th day of October 2017 with notice of case
activity generated and sent electronically to all counsel of record.

                                                      Isl Robert T. Healey
